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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                         )
UNITED STATES OF AMERICA,                )
                                         )
             v.                          )      No. 1:16-cr-00154 (KBJ)
                                         )
LUZ IRENE FAJARDO CAMPOS,                )
                                         )
             Defendant.                  )
                                         )

                                        ORDER

      The parties in this case appeared for a status conference on June 14, 2018.

During that proceeding, counsel for Ms. Fajardo Campos represented that he anticipates

filing motions advance of trial in this matter and requested that the Court set a schedule

for such motions. The Government expressed no objection to setting the requested

briefing schedule. Accordingly, it is hereby

      ORDERED that Ms. Fajardo Campos shall file any motion challenging the Title

III wiretaps on or before August 20, 2018. The Government’s opposition to this motion

is due on or before September 10, 2018. Ms. Fajardo Campos’s reply, if any, is due on

or before September 24, 2018. It is

      FURTHER ORDERED that the parties shall file any remaining pre-trial

motions on or before November 14, 2018. Oppositions to any such motions are due on

or before December 7, 2018, and replies are due on or before December 21, 2018.




Date: June 14, 2018                             Ketanji Brown Jackson u
                                                KETANJI BROWN JACKSON
                                                United States District Judge
